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     Encino, California 91436-2746
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 4   Email: kessellaw@sbcglobal.net
 5
     Attorney for Defendant
 6   SALVADOR CAMACHO LOPEZ
 7
 8                                 UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                        ) CASE NO.: 2:07-CR-0086-FCD
                                                      )
12                         Plaintiff,                 ) STIPULATION AND ORDER TO
                                                      ) CONTINUE STATUS CONFERENCE
13   vs.                                              )
                                                      )
14   SALVADOR CAMACHO LOPEZ. et al,                   )
                                                      )
15                         Defendants.                )
                                                      )
16
17           The parties request that the status conference in this case be continued from July 21, 2008 at
18   10:00 a.m to September 2, 2008 at 10:00 a.m. They stipulate that the time between July 21, 2008
19   and September 2, 2008 should be excluded from the calculation of time under the Speedy Trial Act.
20   The parties stipulate that the ends of justice are served by the Court excluding such time, so that
21   counsel for each defendant may have reasonable time necessary for effective preparation, taking
22   into account the exercise of due diligence. 18 U.S.C. §3161()(8)(B)(iv) and Local Code T-4.
23   Specifically, the remaining defense counsel need additional time to review discovery, investigate,
24   and continue plea negotiations with the government. The court has also found time may be excluded
25   in this matter upon the complexity of the case under 18 U.S.C. §3161 (h)(8)(B)(ii) and Local Code
26   T-2. The parties stipulate and agree that the interests of justice served by granting this continuance
27   outweigh the best interest of the public and the defendant in a speedy trial. 18 U.S.C. § 3161
28   (h)(8)(A).


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 1   Dated: July 17, 2008               Respectfully submitted,
 2
 3                                      /s/ Alex R. Kessel
                                        _______________________
 4                                      ALEX R. KESSEL
                                        Attorney for Defendant
 5                                      SALVADOR CAMACHO LOPEZ
 6
                                        /s/ Shari Rusk
 7                                      ________________________
                                        SHARI RUSK
 8                                      Attorney for Defendant
                                        EDUARDO LLAMAS-MONTES
 9
10
     Dated:July 17, 2008                MCGREGOR W. SCOTT
11                                      United States Attorney
12                                      /s/ Heiko Coppola
                                        ________________________
13                                      HEIKO COPPOLA
                                        Assistant United States Attorney
14
15   IT IS SO ORDERED:
16
     Dated: July 17, 2008
17
18                                 _______________________________________
                                   FRANK C. DAMRELL, JR.
19                                 UNITED STATES DISTRICT JUDGE

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